
PER CURIAM.
Upon examination of the record-on-appeal in the instant case, it appears that the appellants are attempting to appeal to this court an unsigned Circuit Court Minute Book entry as a final judgment.
This court held in Egantoff v. Herring, Fla.App., 177 So.2d 260 (1965), that such a Minute Book entry was not a final judgment and therefore non-appealable.
The Egantoff holding was upheld by the Supreme Court of Florida in State of Florida ex rel. Herring v. Allen, et al., opinion filed May 25, 1966, 189 So.2d 363.
For the reasons stated, this appeal is dismissed ex mero motu.
LILES, Acting C. J., and HOBSON and PIERCE, JJ., concur.
